Case 3:17-cv-06932-MMC Document1-3 Filed 12/05/17
CIVIL COVER SHEET

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS

Micron Technology, Inc.

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JS-CAND 44 (Rev. 06/17)

United Te aaetics Corporation, Fujian Jinhua Integrated Circuit Co., Ltd,
and Does 1-10

County of Residence of First Listed Defendant

(b) County of Residence of First Listed Plaintiff (NUS PLAINTIFF CASES ONLY)

(EXCEPT IN U.S. PLAINTIFF CASES)

Santa Clara, CA

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)

Randall E. Kay (SBN 149369), Jones Day, 4655 Executive Drive,
Suite 1500, San Diego, CA 92121, Tel: 858.314.1200

II. BASIS OF JURISDICTION (Place an ““X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
1 US. Government Plaintiff — x 3 (Oe won Not a Party) Citizen of This State 1 1 Incorporated or Principal Place 4 4
\ of Business In This State
> USC t Defendant 4 Diversity Citizen of Another State 2 2 Incorporated and Principal Place 5 5
+. overnment Vetendant tversity . oe f Business In Another State
1 hip of Part °
(ndicate Citizenship of Parties in Item Ill) Citizen or Subject of a 3 3 Foreign Nation 6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
CONTRACT TORTS. FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance 625 Dmg Related Seizure of 422 Appeal 28 USC § 158 375 False Claims Act
PERSONAL INJURY PERSONAL INJURY
120 Marine i wary — Property 21 USC § 881 423 Withdrawal 28 USC 376 Qui Tam (31 USC
310 Airplane 365 Personal Injury — Product
130 Miller Act 315 Airplane Product Liability Liability 670 Other § 157 § 3729(a))
140 Negotiable Instrument 320 Assault, Libel & Slander 367 Health Care/ LABOR PROPERTY RIGHTS 400 State Reapportionment
150 Recovery of 330 Federal Employers’ I Bete Lk 710 Fair Labor Standards Act | 820 Copyrights s1OrAnetauat
Overpayment Of Liabili Injury Product Liability 430 Banks and Banking
ty . 720 Labor/Management 830 Patent
Veteran’s Benefits . 368 Asbestos Personal Injury : 450 Commerce
151 Medicare Act 340 Marine Product Liability Relations 835 Patent—Abbreviated New :
¢ Defaut 345 Marine Product Liability PERSONAL PROPER 740 Railway Labor Act Drug Application 460 Deportation
152 Recovery of Defaulted 350 Motor Vehicle 751 Family and Medical 840 Trademark 470 Racketeer Influenced &
Student Loans (Excludes . 370 Other Fraud Corrupt Organizations
Veterans) 355 Motor Vehicle Product . . Leave Act SOCIAL SECURITY .
153 Recovery of Liability 371 Truth in Lending 790 Other Labor Litigation 480 C Credit
Overpayment 360 Other Personal Injury 380 Other Personal Property 791 Employee Retirement 861 HIA (139588) 490 Cable/Sat TV
i i Damage Income Security Act 862 Black Lung (923) 850 Securities/Commodities/
of Veteran’s Benefits 362 Personal Injury -Medical ty
0 Stockholders’ Sui Malpractice 385 Property Damage Product IMMIGRATION 863 DIWC/DIWW (405(g)) Exchange
. olders’ Suits Liability — 864 SSID Title XVI 890 Other Statutory Actions
BO Other Contact CIVIL RIGHTS PRISONER PETITIONS | 462 Naturalization 865 RSI (405(g)) 891 Agricultural Acts
195 Contract Product Liability —— Application 893 Envi | Matt
196 Franchise 440 Other Civil Rights HABEAS CORPUS 465 Other Immigration FEDERAL TAX SUITS nvire atters
441 Voting 463 Alien Detainee Actions _ 895 Freedom of Information
REAL PROPERTY 870 Taxes (U.S. Plaintiff or ‘Act
442 Employment 510 Motions to Vacate Defendant)
210 Land Condemnation 443 Housing/ Sentence 871 IRS-Third Party 26 USC 896 Arbitration
220 Foreclosure Accommodations 530 General § 7609 899 Administrative Mrocedie
230 Rent Lease & Ejectment 445 Amer. w/Disabilities— 535 Death Penalty ActReview or Appeal o
Employment gency Decision
240 Torts to Land ware OTHER 950 Constitutionality of State
245 Tort Product Liability 446 Amer. w/D isabilities-Other 540 Mandamus & Other Statutes
290 All Other Real Property | 448 Education 550 Civil Rights
555 Prison Condition
560 Civil Detainee—
Conditions of
Confinement

Vv. ORIGIN (Place an “X” in One Box Only)

X 1° Original 2 Removed from 3 Remanded from 4 Reinstated or 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District (specify) Litigation-Transfer Litigation—Direct File

VI. CAUSE OF Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

ACTION 18 U.S.C. § 1836(b), 18 U.S.C. § 1962(c) and 18 U.S.C. § 1962(d).

Brief description of cause:
Defend Trade Secrets Act misappropriation and RICO.

VII. REQUESTEDIN = CHECKIFTHISISACLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, Fed. R. Civ. P. JURY DEMAND: Xx Yes No
VIII. RELATED CASE(S), JUDGE DOCKET NUMBER

IF ANY (See instructions):
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only) SAN FRANCISCO/OAKLAND SAN JOSE EUREKA-MCKINLEYVILLE

DATE 12/05/2017

SIGNATURE OF ATTORNEY OF RECORD

s/ Randall E. Kay
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JS-CAND 44 (rev. 07/16)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. a)

b)

c)

I.

Ii.

VI.

VII.

Vill.

IX.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment).”

Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

(1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
(2) United States defendant, When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

(3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
takes precedence, and box 1 or 2 should be marked.

(4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
Mark this section for each principal party.

Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

Origin. Place an “X” in one of the six boxes.
(1) Original Proceedings. Cases originating in the United States district courts.

(2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
petition for removal is granted, check this box.

(3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

(4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

(5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

(6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
§ 1407. When this box is checked, do not check (5) above.

(8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”

Date and Attorney Signature. Date and sign the civil cover sheet.
